Case 1:16-cv-10386-LTS Document 223-5 Filed 08/23/19 Page 1 of 10




                 EXHIBIT D
      Case 1:16-cv-10386-LTS Document 223-5 Filed 08/23/19 Page 2 of 10




                                 UNITED STA TES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS


ALEXANDER STYLLER, INTEGRATED
COMMUNICATIONS & TECHNOLOGIES,
INC., JADE CHENG, JASON YUYI, CATHY                              Civil Action No. 1:16-CV-10386 (LTS)
YU, CAROLINE MARAFAO CHENG, PUSHUN
CHENG, CHANGZHEN NI, JUNFANG YU,
MEIXIANG CHENG, FANGSHOU YU, and
CHANGHUA NI,

                                     Plaintiffs,

       vs.

HEWLETT-PACKARD FINANCIAL SERVICES
COMPANY, HEWLETT-PACKARD
FINANCIAL SERVICES (INDIA) PRIVATE
LIMITED, HP INC., HEWLETT PACKARD
ENTERPRISE COMPANY, and DAVID GILL

                                     Defendants.



           DEFENDANTS HEWLETT-PACKARD FINANCIAL SERVICES
         COMPANY, HEWLETT-PACKARD FINANCIAL SERVICES (INDIA)
             PRIVATE LIMITED, HP INC. AND HEWLETT PACKARD
               ENTERPRISE COMPANY'S INITIAL DISCLOSURES

       Defendants, Hewlett-Packard Financial Services Company ("HPFS"), Hewlett-Packard

Financial Services (India) Private Limited ("HPFS (India)"), HP Inc. ("HPI") and Hewlett

Packard Enterprise Company ("HPE") (collectively, the "HP Defendants"), 1 by their attorneys,

and pursuant to Fed. R. Civ. P. 26(a)(l) and (2), makes the following initial disclosures. These

disclosures are made without waiver of, and with preservation of the right to raise and/or fully

address the following:




       David G i11, named as a defendant, has not joined issue or appeared in this action as of this date.


                                                                                                2572361.2    I 08 I 64-84842
      Case 1:16-cv-10386-LTS Document 223-5 Filed 08/23/19 Page 3 of 10



        1.       All issues as to competency, relevancy, materiality, privilege and admissibility of

matters disclosed herein, and the subject matter thereof, as evidence for any purpose in this or

other actions.

       2.        The right to object to any matters disclosed herein, or the subject matter thereof,

on any grounds, throughout this and/or any other action.

       3.        The right to object on any ground at any time to a demand or a request for further

disclosure of matters identified herein, including, but not limited to the forms of discovery

allowed by the Federal Rules of Civil Procedure or other discovery proceedings involving or

relating to the subject matter of this controversy.

       4.        The right at any time to revise, correct, add to, supplement or clarify any of the

disclosures contained herein.

       5.        To the extent that any matters disclosed by the HP Defendants have been

disclosed inadvertently, and such matters otherwise fall within the scope of a privilege,. the HP

Defendants shall not be deemed to have waived such privilege as to any such unintended

disclosure or the information contained therein.      Likewise, the HP Defendants shall not be

deemed to have waived their rights to such privilege as to any other matter that may arise during

the course of this litigation or any subsequent proceeding.




                                                  2
                                                                                 2572361.2   I 08164-84842
     Case 1:16-cv-10386-LTS Document 223-5 Filed 08/23/19 Page 4 of 10



A.     Persons With Relevant Knowledge (Fed. R. Civ. P. 26(a)(l)(A)(i))

       The HP Defendants believe that the following persons may have knowledge regarding

matters relevant to the above-captioned action and HP Defendant employees and former

employees may be contacted through the HP Defendants' counsel (unless otherwise noted):

Name                Contact Information            Sub_jects of Information Known
Kevan Bartley       165 Dascomb Road               (1) The Tata Consultancy Services
                    Andover, MA O1810              Limited ("Tata") leases and return of
                    USA                            equipment; (2) Negotiation and entry into
                                                   the Referral and Revenue Share
                                                   Agreement ("RRSA") and Wholesale Sale
                                                   Agreement ("WSA"); (3) Integrated
                                                   Communications & Technologies, Inc. 's
                                                   ("JCT") communications with Defendants
                                                   concerning the background and quality of
                                                   the equipment that was delivered pursuant
                                                   to the RRSA and WSA; (4) ICT's re-sale
                                                   of the subject equipment and interest in
                                                   purchasing the remainder of the
                                                   equipment returned by Tata, despite issues
                                                   re: quality of the equipment; (5)
                                                   Inspections and/or analysis of inventory of
                                                   the equipment seized by the PSB; (6)
                                                   Efforts to secure the release of the
                                                   Individual Plaintiffs from detention in
                                                   China; and (7) ICT's request for a Return
                                                   Merchandise Authorization ("RMA").




                                             3
                                                                            2572361.2 108164-84842
      Case 1:16-cv-10386-LTS Document 223-5 Filed 08/23/19 Page 5 of 10



Name             Contact Information       Subjects of Information Known
David Gill       410 Concord Road          ( 1) The Tata leases and return of
                 Rhodes, NSW, 2138         equipment; (2) Negotiation, drafting and
                 Australia                 entry into the RRSA and WSA; (3) ICT's
                                           communications with Defendants
                                           concerning the background and quality of
                                           the equipment that was delivered pursuant
                                           to the RRSA and WSA; (4) ICT's re-sale
                                           of the subject equipment and interest in
                                           purchasing the remainder of the
                                           equipment returned by Tata, despite issues
                                           re: quality of the equipment; (5)
                                           Inspections and/or analysis of inventory of
                                           the equipment seized by the PSB; (6)
                                           Efforts to secure the release of the
                                           Individual Plaintiffs from detention in
                                           China; (7) The April 22, 2013 letter from
                                           HPFS (India) to the PSB, and drafts
                                           thereof; (8) ICT's request for an RMA; (9)
                                           ICT's failure to comply with the RRSA
                                           and WSA; (10) ICT and Styller's failure
                                           to confirm that the Individual Plaintiffs
                                           were legitimate JCT employees and ICT's
                                           failure to establish that it was an
                                           authorized employer or trader in China;
                                           and (11) The proprietary trademarks,
                                           logos, security tags, and/or other indicia
                                           of authenticity affixed to the subject
                                           equipment.




                                       4
                                                                    2572361.2   I 08 I 64-84842
     Case 1:16-cv-10386-LTS Document 223-5 Filed 08/23/19 Page 6 of 10



Name             Contact Information             Sub_jects of Information Known
Tom Harris       Cain Rd. Amen Corner (Blgd      (1) The Tata leases and return of
                 BRA02)                          equipment; (2) The RRSA and WSA; (3)
                 Bracknell                       Defendants' business relationship with
                 RG12 IHN
                                                 ICT; (4) ICT's communications with
                 United Kingdom
                                                 Defendants concerning the background
                                                 and quality of the equipment that was
                                                 delivered pursuant to the RRSA and
                                                 WSA; (5) ICT's resale of the subject
                                                 equipment and interest in purchasing the
                                                 remainder of the equipment returned by
                                                 Tata, despite issues re: the quality of the
                                                 equipment; (6) ICT's request for an RMA;
                                                 (7) ICT's failure to comply with the
                                                 RRSA and WSA; and (8) the proprietary
                                                 trademarks, logos, security tags, and/or
                                                 other indicia of authenticity affixed to the
                                                 subject equipment.

James Kwok       Contact information to be       ( 1) Inspections and/or analysis of
                 supplemented later.             inventory of the equipment seized by the
(HP China)
                                                 PSB; (2) Efforts to secure the release of
                                                 the Individual Plaintiffs from detention in
                                                 China; (3) The April 22, 2013 letter from
                                                 HPFS (India) to the PSB, and drafts
                                                 thereof; (4) JCT and Styller's failure to
                                                 confirm that the Individual Plaintiffs were
                                                 legitimate ICT employees and ICT's
                                                 failure to establish that it was an
                                                 authorized employer or trader in China
                                                 and issues concerning the importation of
                                                 the equipment to China; and (5) the
                                                 proprietary trademarks, logos, security
                                                 tags, and/or other indicia of authenticity
                                                 affixed to the subject equipment.

James O'Grady    165 Dascomb Road                (1) Communications with JCT; (2) Efforts
                 Andover, MA 01810               to secure the release of the Individual
                 USA                             Plaintiffs from detention in China; and (3)
                                                 ICT's request for an RMA.




                                             5
                                                                          2572361.2   I 08164-84842
      Case 1:16-cv-10386-LTS Document 223-5 Filed 08/23/19 Page 7 of 10



Name              Contact Information            Sub.iects of Information Known
James Silvestri   165 Dascomb Road               (1) The Tata leases and return of
                  Andover, MAO 1810              equipment; (2) Negotiation and entry into
                  USA                            the RRSA and WSA; (3) Defendants'
                                                 business relationship with ICT; (4) ICT's
                                                 communications with Defendants
                                                 concerning the background and quality of
                                                 the equipment that was delivered pursuant
                                                 to the RRSA and WSA; (5) ICT's resale
                                                 of the subject equipment and interest in
                                                 purchasing the remainder of the
                                                 equipment returned by Tata, despite issues
                                                 re: the quality of the equipment; (6)
                                                 Efforts to secure the release of the
                                                 Individual Plaintiffs from detention in
                                                 China; (7) ICT's request for an RMA; and
                                                 (8) ICT's failure to comply with the
                                                 RRSA and WSA.
Meng Tao          Contact information being      ( l) Inspections and/or analysis of
                  sought -- to be supplemented   inventory of the equipment seized by the
                  later.                         PSB; (2) Efforts to secure the release of
                                                 the Individual Plaintiffs from detention in
                                                 China; (4) The April 22, 2013 letter from
                                                 HPFS (India) to the PSB, and drafts
                                                 thereof; (5) ICT and Styller's failure to
                                                 confirm that the Individual Plaintiffs were
                                                 legitimate ICT employees and ICT's
                                                 failure to establish that it was an
                                                 authorized employer or trader in China,
                                                 and issues concerning the importation of
                                                 the equipment to China; and (6) the
                                                 proprietary trademarks, logos, security
                                                 tags, and/or other indicia of authenticity
                                                 affixed to the subject equipment.




                                           6
                                                                          2572361.2   I 08 I64-84842
      Case 1:16-cv-10386-LTS Document 223-5 Filed 08/23/19 Page 8 of 10



B.        Relevant Documents And Things (Fed. R. Civ. P. 26(a)(l)(A)(ii))

          The HP Defendants identify the following categories of documents the HP Defendants

may have in their possession, custody or control and may use to support their claims and

defenses in the above-captioned matter.      Documents potentially relevant to the claims and

defenses in this case are located in both hard copy and electronic format. Documents that are

subject to the attorney-client and/or work product privileges are not identified or categorized

herein:

          I.     Documents concerning Tata's leases and return of the subject equipment.

          2.     Documents concerning the RRSA and WSA.

          3.     Documents concerning Defendants' business relationship with ICT.

          4.     Documents concerning the quality of the equipment delivered pursuant to the

RRSA and WSA.

          5.     Documents concerning ICT's resale of the subject equipment and interest m

purchasing additional equipment returned by Tata, despite issues re: quality of the equipment.

          6.     Documents concerning the inspections and/or analysis of inventory of the

equipment seized by the PSB.

          7.     Documents concerning efforts to secure the release of the Individual Plaintiffs

from detention in China.

          8.     Documents concerning the April 22, 2013 letter from HPFS (India) to the PSB,

and drafts thereof.

          9.     Documents concerning ICT's request for an RMA.

          I 0.   Documents concerning failure to comply with the RRSA and WSA.




                                                7
                                                                               2572361.2   108164-84842
      Case 1:16-cv-10386-LTS Document 223-5 Filed 08/23/19 Page 9 of 10



        11.         Documents concerning ICT and Styller' s failure to confirm to the PSB (a) that the

Individual Plaintiffs were legitimate ICT employees; (b) that ICT was an authorized employer or

trader in China; and (c) that the subject equipment was lawfully imported into the People's

Republic of China.

        12.         Documents concerning the proprietary trademarks, logos, security tags, and/or

other indicia of authenticity affixed to the subject equipment.

C.      Com putation of Moneta ry Damages (Fed. R. .Civ. P. 26(a)(l )(A)(iii))

        The HP Defendants cannot provide an accurate estimate of their damages at this time

because information including, but not limited to, the alleged damages suffered by the HP

Defendants have not yet been compiled or revealed in discovery.

D.      Insurance Agreements (Fed. R. Civ. P. 26(a)(l )(A)(iv))

        This section is not applicable.

E.      Identitv of Ex pert Witnesses (Fed. R. Civ. P. 26(a)(2))

        The HP Defendants will amend and supplement this response in accordance with Rule

26(a)(2) and Rule 26(e) at the appropriate time and consistent with the expert discovery schedule

set in this case.




                                                    8
                                                                                   2572361.2 I 08164-84842
    Case 1:16-cv-10386-LTS Document 223-5 Filed 08/23/19 Page 10 of 10



Dated: New York, New York
       November 3, 2017

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                                     9
                                                                   2572361.2   I 08 I 64-84842
